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                        THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                           :        Chapter 11
                                                 :
YELLOW CORPORATION, et al.,                      :        Case No. 23-11069 (CTG)
                                                 :        (Jointly Administered)
                        Debtors.                 :
                                                 :        Related to Docket No. 968

           LIMITED OBJECTION OF 445 HOLLYWOOD AVENUE LLC TO
    NOTICE OF POTENTIAL ASSUMPTION OR ASSUMPTION AND ASSIGNMENT OF
              CERTAIN CONTRACTS OR LEASES ASSOCIATED WITH
                     THE NON-ROLLING STOCK ASSETS

         445 Hollywood Avenue LLC (“445 Hollywood”) hereby objects to Yellow Corporation,

Inc.’s (“Debtor”) Notice of Potential Assumption and Assignment of Certain Contracts or Leases

Associated with the Non-Rolling Stock Assets (“Cure Notice”) [Docket No. 968]. In support of this

Limited Objection, 445 Hollywood represents, by and through its undersigned counsel, as follows:

                                              Background

         1.     On or about August 6, 2023 (“Petition Date”), the above-captioned debtors and

debtors-in possession (“Debtors”) filed voluntary petitions for relief under Chapter 11 of Title 11

of the United States Code (“Bankruptcy Code”) in the United States Bankruptcy Court for the

District of Delaware.

         2.     Prior to the Petition Date, YRC, Inc. 1 entered into a Lease Agreement with

Hollywood Properties, LLC 2 on April 15, 2014, and subsequent renewals (the “Lease”),

concerning a certain building and real property located at 445 Hollywood Avenue, South

Plainfield, Middlesex County, New Jersey (the “Property”).

         3.     Prior to the Petition Date, YRC, Inc. materially breached certain provisions of the


1
  YRC, Inc., affiliated with Yellow Corporation, Inc., is a debtor-in-possession as defined in Paragraph 1.
2
  Hollywood Properties, LLC is the prior owner of the Property. 445 Hollywood has succeeded to the
rights of Hollywood Properties, LLC with respect to ownership of the Property and the Lease.
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Lease, including Section 3 of the Lease by failing to pay the rent payment due on August 1, 2023

and Section 4 of the Lease by failing to pay real estate taxes on the Property for the third quarter

of 2023. In addition, 445 Hollywood is entitled to attorneys’ fees and expenses pursuant to Section

14 of the Lease.

         4.    In addition, subsequent to the Petition Date, YRC, Inc. has failed to provide 445

Hollywood with proof of continuous insurance from the Petition Date through at least the date of

any assumption and assignment as required under Section 22 of the Lease with respect to building,

personal property, and general liability coverage.

         5.    On September 15, 2023, this Bankruptcy Court entered an Order (I)(A) Approving

the Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling Auctions and

Approving the Form and Manner of Notice Thereof; (C) Approving Assumption and Assignment

Procedures; (D) Scheduling Sale Hearings and Approving the Form and Manner of Notice

thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,

Interests and Encumbrances and (B) Approving the Assumption and Assignments of Executory

Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket No. 575] (the

“Bidding Procedures Order”) which approved the procedures by which the Debtors may solicit

and pursue the sales of the Debtors’ assets pursuant to 11 U.S.C. § 363.

         6.    In connection to the Bidding Procedures Order, the Debtors filed the Cure Notice,

which identifies the Lease that 445 Hollywood entered into with YRC, Inc.

         7.    The cure amount for the Lease is listed on Schedule 1 of the Cure Notice as $44,000.

                                            Objection

         8.    The cure amount identified by the Debtors is inaccurate. Accordingly, 445

Hollywood objects to the Cure Notice.


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         9.     “Cure is a critical component of assumption.” In re Thane International, Inc., 586

B.R. 540, 549 (Bankr. D. Del. 2018). Specifically, Section 365(b) of the Bankruptcy Code requires

a debtor to fully cure all defaults existing at the time of assumption before assuming an executory

contract and provide adequate assurance of future performance under the contract. 11 U.S.C. §

365(b)(1).

         10.    The actual cure amount on the Lease is $63,401.25 (“Actual Cure Amount”). A

copy of 445 Hollywood’s Amended Proof of Claim which includes the Lease is attached hereto as

Exhibit A.

         11.    As for maintaining proper insurance coverage, the Debtors have, from the Petition

Date until the below date, failed to provide 445 Hollywood with proof that the Property has been

properly insured consistent with the Lease. Debtors must provide proof that the Property has and

will continue to be insured pursuant to the terms set forth in Section 22 of the Lease, at least until

the date of assumption and assignment of the Lease. Proof of uninterrupted insurance acceptable

to 445 Landlord must be immediately provided to avoid post-petition default under the Lease and

potential post-petition damages. In addition to paying the Actual Cure Amount, no “cure” can be

made under the Lease without YRC, Inc. maintaining/obtaining appropriate, agreed upon, post-

petition insurance under the Lease, along with providing proof of the same to 445 Hollywood.

         12.    Further, in connection with any assignment of the Lease, the Debtors are required

to provide adequate assurance of future performance of the Lease as required pursuant to 11 U.S.C.

§ 365(f)(2)(B). To date, no assignee has been identified and no proof of adequate assurance has

been provided to 445 Hollywood regarding same. Therefore, 445 Hollywood reserves its right to

supplement this Limited Objection and to object to any potential assignment based on the failure

to provide adequate assurance if an assignee is identified and the Lease is identified for assumption


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and assignment.

                                     Reservation of Rights

         13.    445 Hollywood reserves its right to amend, supplement, and/or otherwise modify

this objection and its cure claim, and to raise other and further objections to the assumption and

assignment or cure amounts with respect to the Lease.

                                          Conclusion

         WHEREFORE, 445 Hollywood requests that this Court issue an Order (i) Denying the

assumption and assignment of the Lease until such time as the Actual Cure Amount is paid to 445

Hollywood in full, the Debtors provide proof that insurance coverage consistent with the Lease

has been maintained continuously from the Petition Date through any proposed assumption and

assignment, and the Debtors and/or any successful bidder provide adequate assurance of future

performance under the Lease, and (ii) granting to 445 Hollywood such other and further relief as

is just and equitable.

Dated: November 9, 2023                             GELLERT, SCALI, BUSENKELL &
                                                    BROWN LLC

                                                    /s/ Amy D. Brown
                                                    Amy D. Brown (4077)
                                                    1201 N. Orange Street, Suite 300
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 416-3357
                                                    Email: abown@gsbblaw.com

                                                    CONNELL FOLEY LLP
                                                    Philip W. Allogramento III
                                                    (Pro Hac Vice Pending)
                                                    56 Livingston Ave
                                                    Roseland, New Jersey 07068
                                                    Telephone: (973) 535-0500
                                                    Email: pallogramento@connellfoley.com

                                                    Attorneys for 445 Hollywood Avenue LLC


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